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U.S. Department of Justice

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April 30, 2020
The Honorable Ellen L. Hollander
United States District Judge
United States Courthouse
101 West Lombard Street
Baltimore, MD 21201
Re: United States v. Demetrios Stavrakis, ELH 19 0160

Dear Judge Hollander:

The parties have agreed to extend the date by which the Defendant is to report to the
Bureau of Prisons to begin serving his sentence from May 27, 2020, to June 26, 2020.' We
respectfully request that the Court grant the proposed extension.

Very truly yours,

Robert K. Hur
United States Attorney

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Paul E. Budlow
Judson T. Mihok

Assistant United States Attorneys

ce: Howard Srebnick, Esq.
Benjamin Waxman, Esq.

' On February 21, 2020, the BOP designated the Defendant (Reg. No. 64658-037) to serve his sentence at FCI
Allenwood., While the designated facility is subject to change, the Government notes it here.
